                     WISCONSIN ELECTIONS COMMISSION
                     Administering Wisconsin's Election Laws



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Home »COVID-19-FOR VOTERS




  Search
 Search                                    Wisconsin Elections And Coronavirus COVID-19
                                           Wisconsin election officials understand everyone has pressing and important concerns regarding COVID-
                                           19. We share your mission and sense of urgency in ensuring each of Wisconsin’s voters has access to
  Resources
                                           exercise their right to vote without jeopardizing their health.
  Calendar
                                           This page contains clerk communications, news releases, videos and other important information for
  Complaints                               election officials and voters about this public health emergency.
  Contact Us
                                           For information about what the State of Wisconsin is doing in response to the pandemic, visit the state's
  FAQs
                                           official COVID-19 website: https://www.wisconsin.gov/covid19. (Note, this link may redirect to a .com
  Forms                                    website, but it is a safe link.)
  Legal Resources
  Links
  News and Notices
  Public Records
  Publications
                                           Face Coverings On Election
  Statistics
  Training                                 Day
                                           Face coverings are highly recommended and
                                           encouraged to prevent the spread of COVID-19.
  Upcoming Elections                       We have secured enough coverings for all poll
                                           workers for the upcoming 2020 elections. If you
  2021 Spring Election
                                           want to provide masks to voters, municipalities
  04/06/2021
                                           must obtain additional coverings. We’ve included
                                           signage which you can see attached below.

  Upcoming Events                          Can voters be required to wear a face
                                           coverings at their polling place?

                                           No, face coverings can be strongly encouraged but
                                           not required. Election officials should not add
                                           additional requirements not provided by state or
                                           federal law that impacts the civil and constitutional
                                           rights of voters. We also do not believe that county
                                           and/or municipal health orders supersede voting
                                           rights or can add additional qualifications to vote.

                                           Please read more about face coverings in
                                           our FAQ document here:
                                           https://elections.wi.gov/node/6981.




                                           Absentee Ballot Management
                                           Official Absentee Ballot
                                           Application/Certification (EL-122)
                                           Combination Absentee Ballot
                                           Application/Certification. Serves as an absentee
                                           ballot application and an absentee ballot
                                           certificate. Voters are not required to complete a
                                           separate absentee ballot application.

                                           Uniform Absentee Ballot
                                           Instructions
                                           Consolidated Uniform Absentee Voting
                                           Instructions for Military, Overseas and Regular
                                           Voters. Please note that the military and overseas
                                           instructions also apply to voters who were mailed
                                           their ballot and are returning it by mail. These
                                           instructions are intended for clerks to be mailed
                                           with absentee ballots.

                                           Drop Boxes
                                           Clerks may also utilize drop boxes around their
                                           municipality for voters to drop their ballot off.
                                           Many municipalities choose to use library or
                                           existing municipal drop boxes. Please note that all
                                           drop boxes must have clear signage that indicate
                                           their pick up times and there should be a plan in
                                           place to collect ballots prior to 8pm on election
                                           night. All drop boxes should be secure.

                                           In-Person Absentee Voting
                                           Many municipalities may select alternative
                                           locations other than the clerk’s office to conduct
                                           in-person absentee voting. Those locations must be
                                           established by the municipal governing body at
                                           least 14 days prior to the time that absentee ballots
                                           are available for the election. These must be listed
                                           in your Type E notice as well.

                                           Inbound and Outbound Absentee
                                           Ballot Considerations
                                           With COVID-19, voting by mail has increased
                                           drastically in 2020, and with it, a unique set of
                                           challenges. Clerks found many creative solutions to
                                           these new challenges and have adapted to
                                           unprecedented times. This document will cover
                                           some best practices as learned from local clerks
                                           and the National Association for State Election
                                           Directors (NASED).




                                           Absentee Ballot Witnesses
                                           Insufficient Witness Information

                                           Clerks must take corrective actions to remedy a
                                           witness address error. If clerks are able to discern
                                           any missing information for outside sources, clerks
                                           are not required to contact the voter before making
                                           that correction directly to the absentee certificate
                                           envelope.

                                           Obtaining a Witness

                                           All absentee voters must obtain a witness signature
                                           on the absentee certificate envelope. A witness
                                           must be a U.S. Citizen who is 18 years or older, but
                                           it could be a neighbor, spouse, or family member
                                           of the voter. If a voter is struggling to get a witness,
                                           we suggest that the voter asks a family member,
                                           friend, or neighbor to witness their ballot through
                                           a window, from a distance, or on video chat (as
                                           long as they’re able to sign it later). A voter can
                                           also ask a store clerk, a mail carrier, or even
                                           someone at a drive-through.




                                           Moving A Polling Place
                                           Establishing a New Polling
                                           Place Checklist
                                           This page provides guidance on step-by-step
                                           instructions of changing a polling place, including
                                           important accessibility requirements. If the polling
                                           place requires additional accessibility supplies,
                                           such as signage, cones, or doorbells, to maintain
                                           accessibility requirements, please fill out the
                                           supply order form on the page and email it to
                                           elections@wi.gov.

                                           Election Day Accessibility Checklist
                                           Relocated polling places must still pass guidelines
                                           outlined in the Election Day Accessibility Checklist
                                           for new polling places. The document covers severe
                                           accessibility issues from the full-length
                                           accessibility survey, that may prevent a voter from
                                           voting at their designated polling place.

                                           Sample News Release for Municipal
                                           Clerks Moving Polling Places due to
                                           COVID-19
                                           This is a sample news release that municipal clerks
                                           can use to inform the media and public about
                                           changes in polling places.




                                           Polling Place Sanitizing
                                           Procedures
                                           Badger Book Cleaning Practices

                                           As the COVID-19 situation continues to develop,
                                           WEC staff compiled a list of suggested best
                                           practices for cleaning and sanitizing your Badger
                                           Books.

                                           Voting Equipment Cleaning Best Practices
                                           by Vendors

                                           Equipment cleaning practices are outlined by Clear
                                           Ballot, Dominion Voting, and Election Systems
                                           and Software (ES&S).

                                           Sanitizing Supplies

                                           The WEC ordered disinfecting solution, sanitizing
                                           wipes/paper towels, masks, and additional pens
                                           for municipalities to use. We are continuing to
                                           monitor and identify critical shortages that any
                                           municipalities may have. Please contact
                                           elections@wi.gov with any urgent polling place
                                           concerns or shortages.




                                           Special Voting Deputies And
                                           Quarantined Electors
                                           The Wisconsin Elections Commission directed that
                                           municipal clerks shall not send Special Voting
                                           Deputies (SVDs) into care facilities for the
                                           remaining elections in 2020. The Commission
                                           directed that local election officials shall instead
                                           mail an absentee ballot to those registered voters
                                           who reside in care facilities that are typically
                                           served by SVDs if they request an absentee ballot
                                           or have an active request on file. You can read
                                           more information here:
                                           https://elections.wi.gov/node/6939.

                                           Many facilities may still be restricting guests, so
                                           the WEC did outreach to care facilities with
                                           training resources and documents that may care
                                           facilities conduct absentee voting. You can view
                                           these documents here:
                                           https://elections.wi.gov/node/6957.

                                           The hospitalized elector process includes voters
                                           who are under quarantine for exposure to COVID-
                                           19. Voters may assign an agent to carry materials
                                           between the voter and the clerk's office. These
                                           guidelines are available under Wis. Stat. § 6.86(3).
                                           Please read more about the process in the
                                           document attached below.

                                            Attachment                       Size

                                            Hospitalized Electors.pdf 205.96 KB




                                           Election Day COVID-19 Materials
                                            Attachment                                               Size

                                            Election Day Checklist FINAL November.pdf                154.35 KB

                                            Polling Place Sign Packet November 2020.pdf 172.05 KB

                                            Poll Worker Screener Questions FINAL.pdf                 88.82 KB




                                           General Poll Worker Training
                                           These trainings are for any election inspector and contain general
                                           information. All are available online.
                                                 Baseline Chief Inspector Training:
                                                        The Learning Center (username and password
                                                        required) Certification badges are issued to chief
                                                        inspectors when each section of the presentation is
                                                        completed.
                                                        WEC Agency Website (no username or password
                                                        required) Certification badges are not able to be
                                                        issued to chief inspectors taking Baseline CIT on the
                                                        website. Clerks should determine their best track for
                                                        training.

                                                    Voter Registration (EL-131) Training PowerPoint
                                                    Election Administration Training Webinars
                                                    Training Agendas
                                                    Election Day Manual
                                                    Your Role and Responsibilities as a Poll Worker Video
                                                    Voter Registration Application Video
                                                    Poll Book Management Webinar




                                           COVID-19 Specific Poll Worker Training
                                           These trainings are designed for both clerks and election
                                           inspectors. They are all available online, and specifically discuss
                                           COVID-related election training.
                                                 Absentee Voting Information: Absentee Guide for Voters
                                                 and Clerks - COVID-19 Update
                                                 Election Day Polling Place Procedures (including Sanitizing
                                                 and Checking Photo ID: Polling Place Procedures (COVID-
                                                 19) Video and COVID-19 Pollworker Training Webinar
                                                 Training for Election Day Helpers: Election Helper Training
                                                 Presentation Video
                                                 Screener Questions and Signage: Public Health Guidance
                                                 for Elections and Polling Place Materials
                                                 General COVID-19 Poll Worker Training: COVID-19 Poll
                                                 Worker Training PowerPoint




                                           Curbside Or Drive-Through Voting
                                           Drive-through voting and curbside voting are two separate
                                           election processes. Drive-through voting is OPTIONAL and is a
                                           great option for municipalities looking to limit indoor foot traffic.
                                           You can also move your polling place outside for additional space.
                                           Curbside voting is STATUTORILY REQUIRED.

                                           Drive-through and Outdoor Voting

                                                    Any voter can participate.
                                                    All voters must sign the poll book.
                                                    There must still be an accessible voting machine available
                                                    for voters.

                                           Curbside Voting

                                                    Reserved for voters with disabilities and individuals who
                                                    are immunocompromised or who have active COVID-19
                                                    symptoms.
                                                    Curbside voters do not sign the poll book and instead a poll
                                                    worker writes “Exempt” in the signature box.
                                                    You should have a procedure in place for voters to tell you
                                                    they need curbside voting.
                                                    We recommend having signs or a greeter located outside.
                                                    We have free signs for curbside voting here:
                                                    https://elections.wi.gov/clerks/guidance/accessibility/new-
                                                    polling-place.

                                           Please read more about these procedures below.

                                            Attachment                                      Size

                                            Drive Thru and Curbside Voting.pdf              177.35 KB

                                            Curbside Voting Guidance COVID.pdf 92.68 KB




                                           Recruiting Poll Workers
                                           Sample News Release for Poll Worker
                                           Recruitment
                                           This document is a sample news release that clerks are encouraged
                                           to use to put out the call for election inspectors. Please feel free to
                                           customize it with your own name, your mayor, village president or
                                           town board chair's name, or whoever you think would be helpful in
                                           a public call to action.

                                           Poll Worker Promotion on MyVote.Wi.Gov
                                           Wisconsin is looking for citizens to serve as poll workers for the
                                           November 3, 2020 election. This promotion outlines the
                                           qualifications and the process of becoming a poll worker.

                                           Election Worker and Volunteer Position
                                           Information
                                           Looking to help out at the polls on Election Day? If so, there are
                                           several different ways you can assist your community in running
                                           the election. This document reviews the position descriptions and
                                           requirements for Polling Place Helper, Election Inspector, Chief
                                           Election Inspector, Greeter, and Election Registration Official.




                                           COVID-19 Contingency Planning And
                                           Emergency Preparedness Webinar (EA)
                                           Date: March 16, 2020 - 11:11am


                                                        Contingency Planning and Emer‐
                                                        gency Preparedness
                                                         from Wisconsin Elections Commission




                                                        1:06:28




                                           Press       button on the video screen to view video.

                                           Associated materials


                                                    Webinar Downloading Instructions

                                                  1. Click on Vimeo link above which will take you to the
                                                  Vimeo website.

                                                  2. Click the "Download" button that appears below the
                                                  video.




                                                  3. Choose either a Standard (SD) or High Definition (HD)
                                                  file and click the Download button.




                                                  4. Another little menu will pop up. If you're a Windows
                                                  user, select the Save button and save the file to your
                                                  desktop or somewhere else on your computer where you
                                                  store saved files.




                                       COVID-19 Clerk Communications
                                                                                                                                           Last
                                          Title
                                                                                                                                           Updated

                                                                                                                                           December 3,
                                          Circulation of Nomination Papers During COVID-19                                                 2020 -
                                                                                                                                           9:29am

                                                                                                                                           October 10,
                                          Election Day & COVID-19: Poll Worker Procedures (EA)                                             2020 -
                                                                                                                                           10:56pm

                                                                                                                                           October 2,
                                          Poll Worker Recruitment Information - COVID-19                                                   2020 -
                                                                                                                                           1:59pm

                                                                                                                                           September
                                          Elections and Coronavirus COVID-19 Webinar ★                                                     1, 2020 -
                                                                                                                                           4:30pm

                                                                                                                                           September
                                          Partisan Primary Election Updates Q&A Sessions Tuesday Aug. 4: 7th Circuit Court Ruling and
                                                                                                                                           1, 2020 -
                                          COVID-19 Webinar ★
                                                                                                                                           4:27pm

                                                                                                                                           September
                                          Sample News Release for Poll Worker Recruitment - COVID-19                                       1, 2020 -
                                                                                                                                           11:09am

                                                                                                                                           August 25,
                                          Public Health Procedures for In-Person Absentee Voting - COVID-19                                2020 -
                                                                                                                                           9:39am

                                                                                                                                           August 19,
                                          Critical Cleaning Supplies/Personal Protective Equipment (PPE) for November - COVID-19           2020 -
                                                                                                                                           3:23pm

                                                                                                                                           August 10,
                                          Face Coverings While Voting and Conducting Elections - COVID-19                                  2020 -
                                                                                                                                           3:40pm

                                                                                                                                           July 31,
                                          Sample News Release for Municipal Clerks Moving Polling Places Due to COVID-19                   2020 -
                                                                                                                                           4:16pm

                                                                                                                                           July 31,
                                          Top 5 Accessibility Considerations with COVID-19                                                 2020 -
                                                                                                                                           2:58pm

                                                                                                                                           July 29,
                                          Update – Critical Cleaning Supplies and Poll Workers – COVID-19                                  2020 -
                                                                                                                                           7:16pm

                                                                                                                                           July 23,
                                          Elections and Coronavirus COVID-19 (EA)                                                          2020 -
                                                                                                                                           9:46am

                                                                                                                                           July 22,
                                          Poll Worker Survey and Update on Critical Cleaning & Sanitation Supplies - COVID-19              2020 -
                                                                                                                                           11:46am

                                                                                                                                           June 24,
                                          No Special Voting Deputies for the August 11, 2020 and November 3, 2020 Elections - COVID-
                                                                                                                                           2020 -
                                          19
                                                                                                                                           5:35pm

                                                                                                                                           May 28,
                                          Update on Commission Actions 5/27- COVID-19                                                      2020 -
                                                                                                                                           8:41am

                                          WEC Extended Hours and Election Supplies in Support of the Congressional District 7 Special      May 6, 2020
                                          Election on May 12, 2020 - COVID-19                                                              - 10:42am

                                                                                                                                           May 1, 2020
                                          Election Day Procedures for 7th Congressional District Webinar- Q & A Session - COVID-19
                                                                                                                                           - 4:59pm

                                                                                                                                           April 23,
                                          Sample News Release for CD7 County and Municipal Clerks Encouraging Absentee Voting Due
                                                                                                                                           2020 -
                                          to COVID-19
                                                                                                                                           2:08pm

                                                                                                                                           April 22,
                                          FAQ: Absentee Envelope Issues and Options COVID-19                                               2020 -
                                                                                                                                           9:35am

                                                                                                                                           April 13,
                                          UPDATED - Postmark Issues and Processing Absentee Ballots - COVID-19                             2020 -
                                                                                                                                           3:34pm

                                                                                                                                           April 13,
                                          WEC Extended Hours Today: Open until 7:00 PM on April 13, 2020 - COVID-19                        2020 -
                                                                                                                                           9:46am

                                                                                                                                           April 10,
                                          Procedures for April 13, 2020 and Municipal Canvass of Election Results - COVID-19               2020 -
                                                                                                                                           2:01pm

                                                                                                                                           April 10,
                                          Municipal Canvass and Central Count Canvass Meeting Notice Template - COVID-19 Updated           2020 -
                                                                                                                                           9:28am

                                                                                                                                           April 9,
                                          Updated Guidance on Election Night Procedures - COVID-19                                         2020 -
                                                                                                                                           3:28pm

                                                                                                                                           April 8,
                                          Absentee Ballot Postmark Considerations - COVID-19                                               2020 -
                                                                                                                                           3:34pm

                                                                                                                                           April 7,
                                          Updated Absentee Witness Signature Requirement Guidance - COVID-19                               2020 -
                                                                                                                                           6:31pm

                                          URGENT -- Wisconsin Supreme Court Orders Election Day to Continue and U.S. Supreme               April 7,
                                          Court Alters Ballot Receipt Deadline; Tallying and Reporting Results Still Prohibited Until      2020 -
                                          April 13 - COVID-19                                                                              2:49pm

                                                                                                                                           April 7,
                                          Gov. Evers Order - COVID-19                                                                      2020 -
                                                                                                                                           9:32am

                                                                                                                                           April 7,
                                          Webinar for County and Municipal Clerks: Federal Court Decision Updates - COVID-19               2020 -
                                                                                                                                           9:04am

                                                                                                                                           April 3,
                                          Updates to Federal Court Order Affecting Spring Election – Witness Signature Required; No
                                                                                                                                           2020 -
                                          Release of Results Until April 13th at 4:00 p.m. - COVID-19
                                                                                                                                           10:30pm

                                                                                                                                           April 3,
                                          Federal Court Order Affects Spring Election – Absentee Ballot Request and Receipt Deadlines
                                                                                                                                           2020 -
                                          Extended COVID-19
                                                                                                                                           8:20pm

                                                                                                                                           April 3,
                                          Election Day Supplies - COVID 19                                                                 2020 -
                                                                                                                                           5:07pm

                                                                                                                                           April 2,
                                          Polling Place Procedures (COVID-19) Video - (EA)                                                 2020 -
                                                                                                                                           10:36am

                                                                                                                                           April 1,
                                          Election Day Procedures Q & A Sessions COVID-19                                                  2020 -
                                                                                                                                           4:20pm

                                                                                                                                           April 1,
                                          Absentee Witness Signature Requirement Guidance COVID-19                                         2020 -
                                                                                                                                           2:29pm

                                                                                                                                           April 1,
                                          Voting Equipment Cleaning Best Practices for COVID-19                                            2020 -
                                                                                                                                           12:20pm

                                                                                                                                           March 31,
                                          Consolidating Polling Places and Use of WisVote - COVID-19                                       2020 -
                                                                                                                                           3:15pm

                                                                                                                                           March 31,
                                          Absentee Ballot Return Options - COVID-19                                                        2020 -
                                                                                                                                           12:58pm

                                                                                                                                           March 31,
                                          Absentee Ballot Processing - COVID-19                                                            2020 -
                                                                                                                                           12:27pm

                                                                                                                                           March 31,
                                          Public Health Guidance for Elections - COVID-19                                                  2020 -
                                                                                                                                           11:13am

                                                                                                                                           March 31,
                                          COVID-19 Contingency Planning and Emergency Preparedness Webinar (EA)                            2020 -
                                                                                                                                           10:06am

                                                                                                                                           March 29,
                                          Election Official Training Resources COVID-19                                                    2020 -
                                                                                                                                           2:19pm

                                                                                                                                           March 29,
                                          Guidance for Indefinitely Confined Electors COVID-19                                             2020 -
                                                                                                                                           2:00pm

                                                                                                                                           March 24,
                                          Emergency Order #12 Does Not Eliminate In-Person Absentee Voting - COVID-19                      2020 -
                                                                                                                                           7:16pm

                                                                                                                                           March 24,
                                          COVID-19 FAQs and Updates: Online Voter Registration, Absentee Voting, Envelopes,
                                                                                                                                           2020 -
                                          Sanitizer and Poll Worker Recruitment
                                                                                                                                           5:14pm

                                                                                                                                           March 22,
                                          FAQ: Hand Sanitizer Issues and Options for COVID-19                                              2020 -
                                                                                                                                           12:43pm

                                                                                                                                           March 21,
                                          URGENT – Federal Court Decision Orders Continuation of Online Registration Through
                                                                                                                                           2020 -
                                          March 30, 2020 - COVID-19
                                                                                                                                           11:10am

                                                                                                                                           March 20,
                                          Poll Workers – Information Needed - COVID-19                                                     2020 -
                                                                                                                                           3:57pm

                                                                                                                                           March 20,
                                          Critical Cleaning & Sanitation Supplies – Information Needed COVID-19                            2020 -
                                                                                                                                           3:46pm

                                                                                                                                           March 20,
                                          Absentee Envelope Order Status and Delivery Details COVID-19                                     2020 -
                                                                                                                                           12:23pm

                                                                                                                                           March 17,
                                          Social Media and Website Resources about Absentee Voting during COVID-19 Pandemic                2020 -
                                                                                                                                           4:19pm

                                                                                                                                           March 16,
                                          COVID-19 Contingency Planning and Emergency Preparedness webinar                                 2020 -
                                                                                                                                           4:17pm

                                                                                                                                           March 16,
                                          UPDATED: COVID-19 Frequently Asked Questions (FAQ’s) and Guidance on Procedural
                                                                                                                                           2020 -
                                          Changes for Care Facility Absentee Voting and Polling Place Relocation
                                                                                                                                           2:59pm

                                                                                                                                           March 16,
                                          COVID-19 Contingency Planning Webinar Added                                                      2020 -
                                                                                                                                           1:28pm

                                                                                                                                           March 16,
                                          Webinar Handout: Contingency Planning and Emergency Preparedness: Responding to
                                                                                                                                           2020 -
                                          COVID-19
                                                                                                                                           1:22pm

                                                                                                                                           March 16,
                                          Supplemental FAQ on Absentee Voting and COVID-19 - UPDATED                                       2020 -
                                                                                                                                           1:16pm

                                                                                                                                           March 16,
                                          Important Recommendations for Prevention of COVID-19 in Long-Term Care Facilities and
                                                                                                                                           2020 -
                                          Assisted Living Facilities
                                                                                                                                           11:52am

                                                                                                                                           March 14,
                                          Guidance Regarding Election Procedures and COVID-19 Public Health Emergency                      2020 -
                                                                                                                                           10:25pm




               Wisconsin Elections Commission | 212 East Washington Avenue, Third Floor P.O. Box 7984 | Madison, Wisconsin 53707-7984

                                tele (608) 266-8005 | fax (608) 267-0500 | tty 1-800-947-3529 | e-mail elections@wi.gov

                                                          Toll-Free Voter Help Line: 1-866-VOTE-WIS


                                                     Case 2:20-cv-01785-BHL Filed 12/08/20 Page 1 of 1 Document 80-9                     EXHIBIT I
